Filed 8/27/24 P. v. Renteria CA2/1
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IN THE COURT OF APPEAL OF THE STATE OF CALIFORNIA

                         SECOND APPELLATE DISTRICT

                                        DIVISION ONE


 THE PEOPLE,                                                  B330954

           Plaintiff and Respondent,                          (Los Angeles County
                                                              Super. Ct. No. PA089104)
           v.

 FIDEL RENTERIA,

           Defendant and Appellant.


      APPEAL from an order of the Superior Court of Los
Angeles County, Michael Terrell, Judge. Affirmed.
      Jonathan E. Demson, under appointment by the Court of
Appeal, for Defendant and Appellant.
      Rob Bonta, Attorney General, Lance E. Winters, Chief
Assistant Attorney General, Susan Sullivan Pithey, Assistant
Attorney General, Wyatt E. Bloomfield and Lindsay Boyd,
Deputy Attorneys General, for Plaintiff and Respondent.
              __________________________________
       In 2019, defendant Fidel Renteria pleaded no contest to a
count of attempted murder and admitted he personally and
intentionally discharged a firearm in the commission of that
offense. In 2022, he filed a petition for resentencing under Penal
Code1 section 1172.6, a statute which authorizes relief for, among
others, persons convicted of attempted murder under the natural
and probable consequences doctrine. After appointing counsel for
Renteria, allowing both sides to file briefing, and holding a
hearing to determine if Renteria made a prima facie showing for
relief, the trial court denied the petition without issuing an order
to show cause and holding an evidentiary hearing. The court
concluded the record of conviction, including a limited review of
evidence presented at Renteria’s preliminary hearing, establishes
as a matter of law that Renteria is ineligible for resentencing
because he is the person who fired the gunshots at the victims.
       Renteria challenges the trial court’s denial of his
resentencing petition at the prima facie stage, arguing that the
court engaged in impermissible fact finding in considering
preliminary hearing testimony and that the record of his
conviction does not otherwise demonstrate he is ineligible for
relief as a matter of law. We conclude there was no error.
Surveillance video of the shooting was admitted at the
preliminary hearing. Testimony presented in conjunction with
the video establishes there was only one shooter. No other
person was charged with being involved in the shooting when
Renteria admitted at his plea hearing that he personally and
intentionally discharged a firearm during commission of the
attempted murder. We can conceive of no scenario based on


      1 Undesignated statutory references are to the Penal Code.



                                 2
these undisputed facts in which Renteria could have been
prosecuted under the natural and probable consequences
doctrine, and he has posited none.
                          BACKGROUND
       Renteria did not include the reporter’s transcripts from his
preliminary hearing in the appellate record, although his
contention in this appeal is that the trial court erred in relying on
these transcripts in denying his resentencing petition at the
prima facie stage. On this court’s own motion, we augmented the
appellate record with the reporter’s transcripts from the
preliminary hearing and minute orders related to the preliminary
hearing.2
A.     Preliminary Hearing
       On July 2, 2018, the preliminary hearing commenced to
determine whether Renteria and codefendant Jorge Olea would
be held to answer on a charge of premeditated attempted murder.
The two-day preliminary hearing concluded on July 26, 2018.
       Angel Vargas, a victim of the alleged attempted murder,
testified for the prosecution at the preliminary hearing and was
cross-examined by each defendant’s counsel. During Vargas’s
testimony, the prosecutor played surveillance video from the gas

      2 Our consideration of the preliminary hearing transcripts

is limited. We provide a summary of the evidence presented at
the preliminary hearing, but we do not weigh the evidence. We
rely on indisputable circumstances about the shooting presented
at the preliminary hearing, as specified below, but we make no
finding that all of the facts set forth in our summary of the
evidence are true. We provide the summary to give context to
Renteria’s no contest plea and admissions as well as the
arguments he raised below and on appeal in support of his
petition for resentencing.

                                 3
station where the incident occurred. The video was admitted into
evidence at the preliminary hearing. Vargas testified about the
shooting as he watched the surveillance video which captured the
shooting.
       Vargas testified that on June 21, 2017, between 8:00 and
9:00 p.m., he and his brother were sitting in a car parked at a gas
station next to a gas pump. He was in the driver seat and his
brother was in the front passenger seat. Vargas observed three
men enter and then exit the gas station’s convenience store.
Vargas stated that as shown on the surveillance video, one of the
three men approached the driver side of the car where Vargas
was seated. In a six-pack photo lineup and in court at the
preliminary hearing, Vargas identified the man as Renteria.
Through the open driver side window of Vargas’s car, Renteria
asked Vargas, “ ‘Do you know me?’ ” Vargas responded, “ ‘Do you
know me?’ ” Renteria indicated he had mistaken Vargas for
someone else.
       Vargas stated that he turned his head and noticed that one
of the other two men who had entered and exited the convenience
store with Renteria was standing behind his (Vargas’s) car, off to
the side, holding onto the door to the store. The man made a
motion with his other hand that Vargas interpreted as a gang
sign. Vargas identified this man in court at the preliminary
hearing as codefendant Olea, both by pointing him out in court
and identifying him in a still photograph taken from the
surveillance video. Vargas testified that he asked, “ ‘What’s that,’
” referring to the hand sign from Olea, and Renteria responded,
“ ‘San Fer,’ ” which Vargas understood to be a reference to a gang.
According to Vargas, the third man (who was not charged in this




                                 4
case) was standing behind Renteria around three or four feet
away from Vargas’s car, looking at Vargas.
       Vargas stated that as shown on the surveillance video,
Renteria walked to the driver side of a vehicle parked behind
Vargas’s car. Then, Vargas looked in his rearview mirror and
saw Renteria standing behind the trunk of his (Vargas’s) car. As
Vargas started to drive away, he heard a gunshot. He saw
Renteria pointing a gun at his car.3 Renteria fired multiple shots
into Vargas’s car as Vargas drove out of the gas station. The rear
window shattered and a bullet lodged in the headrest of the
driver seat where Vargas was sitting. There were three bullet
holes in Vargas’s car that were not there before this incident.
Vargas testified that the lone shooter shown on the surveillance
video was Renteria.
       Los Angeles Police Department Officer Samantha
Barnhart, who was assigned to a gang enforcement detail and
took part in the investigation of this case, also testified at the
preliminary hearing. Barnhart stated that she and her partner
detained Olea on June 26, 2017, and thereafter Olea told a
detective (outside her presence) that he was present at the gas
station on June 21, 2017 with Renteria and a man called Flaco,
but he (Olea) did not fire a gun. According to Barnhart’s
testimony, Olea also told the detective he “had a suspicion” that
Renteria was the shooter, but he indicated he did not see who
fired the shots; and he covered his face before entering Renteria’s




      3 Earlier in his testimony, before making this clarification,

Vargas indicated he did not see a gun in Renteria’s hand “prior to
pulling away from the gas station.”

                                 5
truck after the shooting because he did not want to get in trouble
for a shooting he did not commit.4
       Officer Barnhart also testified about Renteria’s and Olea’s
affiliation with the San Fernando criminal street gang and stated
her opinion that a hypothetical shooting mirroring the facts of
this case would have been committed for the benefit of and in
association with the gang, with the specific intent to promote
criminal conduct by gang members.
       After the witnesses testified, Renteria’s counsel argued
there was insufficient evidence that the attempted murder was
premeditated. Renteria’s counsel otherwise submitted on the
charge and enhancements. The trial court rejected this argument
and held Renteria to answer on a charge of willful, deliberate,
and premeditated attempted murder, with a firearm
enhancement allegation under section 12022.53, subdivision (c)
(personal and intentional discharge of a firearm), and a gang
enhancement allegation under section 186.22, subdivision (b).
The court commented the evidence showed that “after making
contact with the victims, [Renteria] walked back to his vehicle
and retrieved the firearm and fired three shots.”
       Olea’s counsel made a motion to dismiss the attempted
murder charge as to Olea. The trial court asked the prosecutor to
cite evidence showing Olea aided and abetted an attempted
murder. After hearing from the prosecutor and then Olea’s
counsel on this issue, the court granted the motion to dismiss the

      4 We do not rely on any statements by Olea in deciding this

appeal, and there is no indication the trial court did either. We
include Officer Barnhart’s testimony about Olea’s statements
because Renteria references them in his reply brief in support of
his petition for resentencing, as set forth below.

                                6
attempted murder charge as to Olea, finding Olea “is more of a
witness than a suspect.” The court held Olea to answer on a
charge of accessory after the fact (with a gang enhancement
allegation), based on evidence presented at the preliminary
hearing that is not germane to this appeal.
      On August 9, 2018, the district attorney filed an
information charging Renteria and Olea with the above-described
offenses and enhancements.5
B.    No Contest Plea and Admission of Enhancement
      Allegations
      We granted Renteria’s motion to augment the record in this
appeal with the reporter’s transcript of his plea hearing, held on
May 23, 2019. On that date, Renteria waived his constitutional
rights, withdrew his not guilty plea, and pleaded no contest to the
charge of attempted murder. He admitted the allegation that in
the commission of the attempted murder he personally and
intentionally discharged a firearm, within the meaning of section
12022.53, subdivision (c). He also admitted the allegation that he
committed the attempted murder for the benefit of, at the
direction of, and in association with a criminal street gang, with
the specific intent to promote, further, and assist in criminal
conduct by gang members, within the meaning of section 186.22,
subdivision (b)(1)(C). His plea deal did not require him to admit
the allegation that the attempted murder was willful, deliberate,
and premeditated. Renteria’s counsel indicated that he “join[ed]
in the waivers, and stipulate[d] to a factual basis based on the
complaint and police reports and concur[red] in the plea and the

      5 Renteria was charged with one count of attempted murder

which listed both Vargas and his brother as the victims in the
same count.

                                7
admissions” pursuant to People v. West (1970) 3 Cal.3d 595. The
trial court accepted the plea and the admissions.
       Under the terms of the plea negotiation, the trial court
sentenced Renteria to 27 years in state prison: the middle term of
seven years for the attempted murder, plus 20 years for the
firearm enhancement. The court struck the gang enhancement
allegation for purposes of punishment.
C.     Petition for Resentencing
       In 2018, the Legislature enacted Senate Bill No. 1437 “to
amend the felony murder rule and the natural and probable
consequences doctrine, as it relates to murder, to ensure that
murder liability is not imposed on a person who is not the actual
killer, did not act with the intent to kill, or was not a major
participant in the underlying felony who acted with reckless
indifference to human life.” (Sen. Bill No. 1437 (2017-2018 Reg.
Sess.); Stats. 2018, ch. 1015, § 1(f), p. 6674; §§ 188, subd. (a)(3) &amp;
189, subd. (e).) Senate Bill No. 1437 amended sections 188
(defining malice) and 189 (felony murder) and added section
1170.95, now renumbered section 1172.6,6 which established a
procedure for vacating murder convictions and resentencing
defendants who could no longer be convicted of murder in light of
the amendments to sections 188 and 189. (Stats. 2018, ch. 1015,
§ 4, pp. 6675–6677.)7 On October 5, 2021, the Governor signed

      6 Effective June 30, 2022, section 1170.95 was renumbered

section 1172.6, with no change in text (Stats. 2022, ch. 58, § 10).
      7 Senate Bill No. 1437 added the following provision to

section 188: “Except as stated in subdivision (e) of Section 189, in
order to be convicted of murder, a principal in a crime shall act
with malice aforethought. Malice shall not be imputed to a
person based solely on his or her participation in a crime.”

                                  8
into law Senate Bill No. 775 which amended then-section 1170.95
to, among other things, authorize relief for persons convicted of
attempted murder under the natural and probable consequences
doctrine. (Sen. Bill No. 775 (2020-2021 Reg. Sess.); Stats. 2021,
ch. 551, § 2.) The amendment became effective January 1, 2022.
       On November 30, 2022, Renteria, as a self-represented
litigant, filed a petition for resentencing using a pre-printed form.
He checked boxes on the form indicating (1) an information was
filed against him that allowed the prosecution to proceed under a
theory of attempted murder under the natural and probable
consequences doctrine; (2) he accepted a plea offer in lieu of a
trial at which he could have been convicted of attempted murder;
and (3) he could not presently be convicted of attempted murder
because of changes made to sections 188 and 189, effective
January 1, 2019. He also checked the box requesting
appointment of counsel.
       The trial court appointed counsel for Renteria and set a
briefing schedule. The district attorney filed a brief opposing the
resentencing petition, arguing Renteria is ineligible for
resentencing as a matter of law because he was convicted of
attempted murder as the sole shooter and not under a natural
and probable consequences theory. The district attorney set forth
a statement of facts in the brief, presumably taken from the
transcripts of the preliminary hearing. The district attorney
noted in the brief that Olea made statements to law enforcement
about the incident, and that he was not held to answer on the
attempted murder charge due to insufficient evidence he aided
and abetted Renteria in the attempted murder.
       In a reply brief filed by his counsel, Renteria relied on the
allegations in his pre-printed, form petition to support his


                                 9
contention that he made a prima facie case for relief and the trial
court must issue an order to show cause and set the matter for an
evidentiary hearing. He argued the court could not rely on “facts
from [his] preliminary hearing” to deny his petition at the prima
facie stage because the court may not engage in fact finding at
this stage. He did not describe the circumstances of the shooting,
other than to state the district attorney “conceded” in the
opposition brief that there were other men present with him at
the crime scene (a fact presumably taken from the preliminary
hearing transcript). He also noted the district attorney pointed
out in the opposition brief that Olea was not held to answer on
the attempted murder charge, and he asserted that the
“prosecution should not be permitted to rely on a self-serving
statement by a codefendant in order to deprive Mr. Renteria of an
Order to Show Cause hearing.” Apparently, he was referring to
Olea’s statement that he did not see who fired the shots but he
suspected it was Renteria (although the district attorney did not
reference this specific statement in the opposition brief). Finally,
Renteria argued, “personal use of a firearm, standing alone, is
not enough to impute the necessary intent to kill, under current
law, which requires the fact finder to determine that petitioner
personally harbored intent to kill.” The reply brief did not offer
any argument grounded in the facts of record that would support
an inference that Renteria was facing prosecution for the
attempted murder on a natural and probable consequences
theory when he was convicted based on his plea.
       On May 22, 2023, the trial court held a hearing under
section 1172.6, subdivision (c), to determine whether Renteria
made a prima facie case for relief. The court acknowledged that
it could not engage in fact finding at the prima facie stage, and


                                10
stated that it could consider the record of conviction, “including
testimony at a preliminary hearing, as long as it’s not hearsay
testimony.” The court concluded Vargas’s testimony at the
preliminary hearing that Renteria was the shooter, and
Renteria’s admission at his plea hearing that he personally and
intentionally discharged a firearm in the commission of the
attempted murder, established as a matter of law that Renteria
was ineligible for resentencing. The court asked if either party
wanted to present oral argument, and both declined. The court
denied Renteria’s resentencing petition without issuing an order
to show cause and holding an evidentiary hearing.
                           DISCUSSION
       Renteria contends the trial court erred in denying his
petition for resentencing at the prima facie stage, arguing the
record of conviction does not establish he was the “actual
perpetrator” of an attempted murder, and reliance on the
preliminary hearing transcripts to conclude that he was
constitutes impermissible fact finding.
A.     Section 1172.6 and the Prima Facie Inquiry
       As stated in section 1172.6, subdivision (a), a person
convicted of attempted murder under the natural and probable
consequences doctrine may file a petition to have the attempted
murder conviction vacated and to be resentenced on any
remaining counts. When a defendant files a facially sufficient
petition under section 1172.6, subdivision (b), by completely
filling out the pre-printed form petition and checking all required
boxes, the trial court must appoint counsel to represent the
petitioner, allow briefing from both sides, and hold a hearing to
determine whether the petitioner has made a prima facie
showing for relief. (§ 1172.6, subds. (b)-(c).) If the petitioner


                                11
makes such a showing, the court must issue an order to show
cause and hold an evidentiary hearing, unless the parties
stipulate that the petitioner is entitled to relief. (§ 1172.6, subds.
(c)-(d)(2).) At the evidentiary hearing, the prosecution has the
burden of “prov[ing], beyond a reasonable doubt, that the
petitioner is guilty of murder or attempted murder under
California law as amended by the changes to Section 188 or 189
made effective January 1, 2019.” (§ 1172.6, subd. (d)(3).)
       As the California Supreme Court explained in People v.
Lewis (2021) 11 Cal.5th 952 (Lewis):
       “The record of conviction will necessarily inform the trial
court’s prima facie inquiry under section [1172.6], allowing the
court to distinguish petitions with potential merit from those that
are clearly meritless. This is consistent with the statute’s overall
purpose: to ensure that murder [and attempted murder]
culpability is commensurate with a person’s actions, while also
ensuring that clearly meritless petitions can be efficiently
addressed as part of a single-step prima facie review process.
[Citation.]
       “While the trial court may look at the record of conviction
after the appointment of counsel to determine whether a
petitioner has made a prima facie case for section [1172.6] relief,
the prima facie inquiry under subdivision (c) is limited. Like the
analogous prima facie inquiry in habeas corpus proceedings,
‘ “the court takes petitioner’s factual allegations as true and
makes a preliminary assessment regarding whether the
petitioner would be entitled to relief if his or her factual
allegations were proved. If so, the court must issue an order to
show cause.” ’ [Citations.] ‘[A] court should not reject the
petitioner’s factual allegations on credibility grounds without


                                 12
first conducting an evidentiary hearing.’ [Citations.] ‘However, if
the record, including the court’s own documents, “contain[s] facts
refuting the allegations made in the petition,” then “the court is
justified in making a credibility determination adverse to the
petitioner.” ’ ” (Lewis, supra, 11 Cal.5th at p. 971.)
       “In reviewing any part of the record of conviction at this
preliminary juncture, a trial court should not engage in
‘factfinding involving the weighing of evidence or the exercise of
discretion.’ ” (Lewis, supra, 11 Cal.5th at p. 972.) The “ ‘prima
facie bar was intentionally and correctly set very low.’ ” (Ibid.)
“In sum, the parties can, and should, use the record of conviction
to aid the trial court in reliably assessing whether a petitioner
has made a prima facie case for relief under section [1172.6],
subdivision (c).” (Ibid., fn. omitted.)
       “Whether the court conducted a proper inquiry under
section [1172.6], subdivision (c)” at the prima facie stage—the
issue before us—is a question we review de novo. (People v.
Harrison (2021) 73 Cal.App.5th 429, 437; People v. Harden (2022)
81 Cal.App.5th 45, 52 [“We independently review a trial court’s
determination on whether a petitioner has made a prima facie
showing”].)
B.     Conflicting Case Law Regarding Reliance on a
       Preliminary Hearing Transcript at the Prima Facie
       Stage of a Section 1172.6 Petition
       There is a split of authority among California Courts of
Appeal on the issue of the extent to which a trial court may rely
on a preliminary hearing transcript in denying a section 1172.6
petition for resentencing at the prima facie stage in a case in
which the defendant pleaded guilty or no contest to murder,
attempted murder, or manslaughter. But even courts that


                                13
disagree on the extent to which a preliminary hearing transcript
may be considered agree that the preliminary hearing transcript
is part of the record of conviction. (See, e.g., People v. Williams
(2024) 103 Cal.App.5th 375, ___ [322 Cal.Rptr.3d 728, 749]
(Williams); People v. Pickett (2023) 93 Cal.App.5th 982, 988, 992-
993, review granted Oct. 11, 2023, S281643 (Pickett).)
       Some appellate courts, including this one, have concluded
there are circumstances when consideration of the preliminary
hearing transcript at the prima facie stage of a section 1172.6
petition does not constitute impermissible factfinding. (See, e.g.,
Pickett, supra, 93 Cal.App.5th at p. 990 [we held that, “where the
defendant alleges no facts concerning the murder to which he
pleaded guilty, the People introduce without objection
uncontroverted evidence from the preliminary hearing transcript
showing that the defendant acted alone in killing the victim, and
the defendant does not put forth, by way of briefing or oral
argument, any factual or legal theory in support of his petition,
the defendant has failed to make a prima facie showing for relief
under section 1172.6”]; People v. Mares (2024) 99 Cal.App.5th
1158, 1175, review granted May 1, 2024, S284232 (Mares)
[holding that the trial court did not err in considering the
preliminary hearing transcript where the undisputed evidence
established the defendant was the actual killer, the record
“contain[ed] no indication of the involvement of any other person
in the killing or in the physical fight,” and the defendant “never
explained, in the trial court or on appeal, how he could have been
convicted as an accomplice”]; People v. Patton (2023) 89
Cal.App.5th 649, 657, 658, review granted June 28, 2023,
S279670 [holding that the trial court did not engage in fact
finding when it relied on the preliminary hearing transcript in


                                14
denying a section 1172.6 petition, where the “sworn testimony of
police officers, based on surveillance video of the crime, that [the
defendant] committed the shooting was and is uncontroverted,”
and the defendant “never offered any theory to support his
implicit contention now that he was an accomplice and not the
person who actually shot [the attempted murder victim]”].)
      Other appellate courts have concluded that consideration of
the preliminary hearing transcript at the prima facie stage of a
section 1172.6 petition, in the manner described above in Patton,
Pickett, and Mares, contravenes the bar on fact finding at this
stage. (See, e.g., Williams, supra, 103 Cal.App.5th 375, ___ [322
Cal.Rptr.3d at pp. 734, 747, 752] [holding that the trial court
erred in relying on the preliminary hearing and change of plea
transcripts in denying the defendant’s facially sufficient section
1172.6 petition at the prima facie stage, and concluding that
“absent a factual finding or admission regarding the manner in
which the offense was committed, even compelling,
uncontroverted, and uncontradicted testimony is not conclusive of
a petitioner’s guilt under a specific theory, as required under
Curiel”8 and “neither the preliminary hearing transcript nor


      8 In People v. Curiel (2023) 15 Cal.5th 433, the California

Supreme Court held, “a petitioner who alleges that he or she
could not currently be convicted of a homicide offense ‘because of
changes to Section 188 or 189 made effective January 1, 2019’
(§ 1172.6, subd. (a)(3)) puts at issue all elements of the offense
under a valid theory.” (Curiel, at p. 462.) The allegation “is not
refuted by the record unless the record conclusively establishes
every element of the offense.” (Id. at p. 463.) Curiel involved the
“effect of [a] jury’s true finding on [a] gang-murder special
circumstance” on the defendant’s “ability to state a prima facie
case for relief.” (Id. at pp. 440-441.) While relying on Curiel and

                                15
defense counsel’s stipulation to that transcript providing a
factual basis for the plea conclusively establishes that petitioner
entered a plea to attempted murder under a still-valid theory”].)
       A more detailed discussion of the cases on both sides of the
issue is not necessary here. For reasons we discuss in the next
section of this opinion, we are satisfied that Renteria is ineligible
for resentencing as a matter of law based on the record of his
conviction, which includes a limited review of the key
indisputable circumstances of the shooting revealed in the
preliminary hearing transcripts.
C.     Analysis
       Renteria does not acknowledge in his appellate briefing
that surveillance video was admitted into evidence at his
preliminary hearing (although the Attorney General references
the video in the respondent’s brief). Undisputed evidence
presented at the preliminary hearing establishes that the

applying its rationale, the majority in Williams “acknowledge[d]
the [California Supreme Court] has yet to elaborate on how the
record of conviction may conclusively establish every element of
the offense under a valid theory in the context of a plea.”
(Williams, supra, 103 Cal.App.5th 375, ___ [322 Cal.Rptr.3d at p.
746].) The dissent in Williams reasoned that “in plea cases
where no factual dispute over whether the conviction was based
on an invalid theory is apparent from the record because the
record instead reflects petitioner was the direct perpetrator
acting alone, and petitioner has done nothing beyond filing a
form petition to identify a basis for relief under section 1172.6,
the utility of applying a test that asks whether every element of
the offense has been conclusively established by the record under
a valid theory is not clear.” (Id. at p. 768 (dis. opn. of Meehan,
J).) We agree with the dissent’s reasoning and decline to follow
Williams on this point.

                                 16
shooting involving Vargas and his brother was captured on that
surveillance video, and the video shows there was one shooter.9
Considering this undisputed evidence does not involve “ ‘weighing
of evidence’ ” or “ ‘exercise of discretion’ ” and thus does not
constitute “ ‘factfinding’ ” as proscribed by Lewis. (Lewis, supra,
11 Cal.5th at p. 972.)
       Renteria admitted at the plea hearing that he personally
and intentionally discharged a firearm in the commission of the
attempted murder of Vargas and his brother. In some cases,
where there are multiple shooters, the admission of such a
firearm enhancement may not inform the prima facie inquiry
because one shooter may have harbored intent to kill, while
another may have aided and abetted some other offense without
intent to kill, and the natural and probable consequences of the
other offense were murder or attempted murder. (See People v.
Offley (2020) 48 Cal.App.5th 588, 599.) Here, in contrast, there
was only one shooter—Renteria—and there is no conceivable
theory under which he, the direct perpetrator, could have been
prosecuted under an aiding and abetting theory under the
natural and probable consequences doctrine. And he posits no
such theory.10

      9 At oral argument, Renteria’s counsel acknowledged there

is surveillance video of the incident, and counsel did not dispute
that the video shows only one shooter.
      10 Whether or not the record of conviction establishes

Renteria acted with intent to kill is not material here where the
record of conviction establishes he was the direct and sole
perpetrator of the offense. Even if he could prove he did not act
with intent to kill, that would not entitle him to relief under
section 1172.6 because his attempted murder conviction is not
affected by the change in law, i.e., the elimination of the natural

                                 17
       The intimation in the reply brief filed below that there were
others present with Renteria at the gas station where the
shooting occurred, falls far short of a coherent articulation of a
basis for concluding that Renteria could have been prosecuted for
attempted murder on a natural and probable consequences
theory.11 We note that in this appeal Renteria makes no mention
that others were present with him at the gas station. He does not
reference any case-specific facts at all.
       As the dissent cogently stated in Williams, “Courts must
take care not to demand too much of the petitioner at the prima
facie stage, but they must also not demand so little that the
prima facie review is rendered meaningless and direct
perpetrator cases with uncontroverted records of conviction move
to the next stage based on nothing more than a form petition with
the requisite boxes checked. If, under the circumstances in this
case, filing a form petition with boxes checked is sufficient to
justify an evidentiary hearing, the prima facie review stage is
rendered hollow, our high court’s express endorsement of limited
record review and dismissal of petitions where the record refutes
the petition allegations is not given effect, clearly meritless
petitions will proceed to an evidentiary hearing, and already


and probable consequences doctrine as a basis for attempted
murder liability. He could have challenged the sufficiency of the
evidence of intent to kill “at the time of his plea, without any
change in the law.” (Mares, supra, 99 Cal.App.5th at p. 1168.)
      11 The only aiding and abetting theory mentioned in the

record of conviction is whether Olea aided and abetted Renteria
in the attempted murder. The trial court expressly rejected this
theory at the preliminary hearing and declined to hold Olea to
answer for attempted murder.

                                18
swamped trial courts will be needlessly burdened by conducting
evidentiary hearings on meritless petitions.” (Williams, supra,
103 Cal.App.5th at p. ___ [322 Cal.Rptr.3d at pp. 769-770] (dis.
opn. of Meehan, J).)
       Renteria contends he is entitled to an evidentiary hearing
based on the bare allegations in the form petition for
resentencing. He offers no factual context for these standard,
pre-printed allegations. He urged this court not to look at the
transcripts of his preliminary hearing, which he did not include
in the appellate record. But we have conducted an appropriately
limited review of these transcripts, as necessary to resolve the
arguments he raises on appeal and to gain context for his no
contest plea and admissions. As explained above, without
engaging in any weighing of the evidence, we agree with the trial
court’s conclusion that Renteria has not made a prima facie
showing for relief. The record of conviction “ ‘ “contain[s] facts
refuting the allegations made in the petition,” ’ ” and the trial
“ ‘ “court [was] justified in making a credibility determination
adverse to [Renteria].” ’ ” (See Lewis, supra, 11 Cal.5th at p.
971.) The petition was properly denied.12




      12 Because we conclude Renteria did not make a prima facie

showing for relief, we reject his contentions that the denial of his
petition without an order to show cause and an evidentiary
hearing violated his due process rights under the federal and
California constitutions.

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                          DISPOSITION
      The May 22, 2023 order denying the petition for
resentencing is affirmed.
      NOT TO BE PUBLISHED




                                                 KELLEY, J.*

We concur:




             ROTHSCHILD, P. J.



             WEINGART, J.




      * Judge of the San Luis Obispo County Superior Court,

assigned by the Chief Justice pursuant to article VI, section 6 of
the California Constitution.

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